







		NO. 12-09-00144-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




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IN RE: AMY BETTS WEAVER,

RELATOR§
	ORIGINAL PROCEEDING


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MEMORANDUM OPINION


PER CURIAM


	Relator Amy Betts Weaver seeks a writ of mandamus requiring Respondent, the Honorable
Terry Bailey, Judge of the County Court at Law, Panola County, Texas, to grant her motion to
transfer the underlying modification proceeding to Rusk County.  Weaver has filed a motion for
temporary relief requesting a stay of the underlying proceeding pending our disposition of her
petition for writ of mandamus.

	Each court of appeals for a court of appeals district may issue all writs of mandamus,
agreeable to the principles of law regulating those writs, against a judge of a district or county court
in the court of appeals district.  Tex. Gov't Code Ann. § 22.221(b)(1) (Vernon 2004).  The
respondent in this original proceeding is a judge in Panola County.  However, Panola County lies
within the Sixth Court of Appeals District.  Tex. Gov't Code Ann. § 22.201(b)(1) (Vernon Supp.
2008).  Consequently, this court has no jurisdiction to grant the requested relief.  Accordingly, we
take no action on Weaver's motion for temporary relief and dismiss this original proceeding.

Opinion delivered May 15, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.


(PUBLISH)


